       Case 1:12-cr-00323-WSD-CMS Document 38 Filed 09/29/16 Page 1 of 1



                            UNITED STATES OF AMERICA
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 EDWARD K. KIM,                                 CRIMINAL NO.
                                                1:12-cr-323-01-WSD
                       Movant,
 vs.                                            CIVIL ACTION FILE NO.
 UNITED STATES OF AMERICA,                      1:16-cv-1173-WSD
                       Respondent.


                                        JUDGMENT

       The Court having DISMISSED the motion filed pursuant to Title 28, United States

Code, Section 2255,

       Judgment is hereby entered in favor of the Respondent and against the Movant. It

is further ordered that a Certificate of Appealability is denied.

       Dated at Atlanta, Georgia this 29th day of September, 2016.


                                                  JAMES N. HATTEN
                                                  CLERK OF COURT


                                             By: s/ Denise D.M. McGoldrick
                                                 Deputy Clerk


Filed: September 29, 2016
Entered:
In the Clerk's Office

James N. Hatten
Clerk of Court

By:s/ Denise D.M. McGoldrick
       Deputy Clerk
